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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHO
                                     EASTERN DIVISION


UNITED STATES OF AMERICA,                     )       Case No. 1:14cr420-3
                                              )
               Plaintiff,                     )       Judge Boyko
                                              )
       vs.                                    )       REPORT AND RECOMMENDATION
                                              )            OF MAGISTRATE JUDGE
ROSS CIPOLLA,                                 )
                                              )
               Defendant.                     )       Magistrate Judge Greg White
                                              )

       Pursuant to General Order 99-49, this matter was been referred to the undersigned United States
Magistrate Judge for the purpose of receiving, after consent, the Defendant’s plea of guilty. The
following, along with the transcript or other record of the proceedings submitted herewith, constitutes
this Court’s Report and Recommendation concerning the Defendant’s plea of guilty:


               1.      On September 30, 2015, the Defendant, accompanied by counsel,
                       proffered a plea of guilty;
               2.      The Defendant was examined as to his competency to participate in a
                       plea proceeding and was found to be competent;
               3.      The Defendant acknowledged understanding the nature of the charge(s)
                       contained in the indictment and the maximum possible sentence
                       consequent thereto;
               4.      The Defendant was advised of his rights to tender a plea of not guilty or
                       stand upon such a plea previously entered, to trial, to representation by
                       counsel, including appointed counsel, at all stages of the proceedings, to
                       confront and cross-examine adverse witnesses, to present witnesses and
                       to compel their presence, to stand upon or waive the privilege against
                       self-incrimination, and acknowledged understanding that if a plea of
                       guilty was accepted each of those rights would be waived;
               5.      The Defendant was advised that the government would have the right, in
                       a prosecution for perjury, to use any statement he makes under oath;
               6.      The Defendant and counsel informed the Court of the plea agreement
                       between the parties, and the Defendant advised that, aside from such
                       agreement as described and submitted to the Court, no other
                       commitments or promises have been made by anyone, and no other
                       agreements, written or unwritten, have been made;
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               7.       The Defendant was advised that the terms of the plea agreement retaining
                        only a limited right to appeal or collaterally attack his conviction(s) and
                        sentence(s) will be binding;
               8.       The parties provided the undersigned with sufficient information about
                        the charged offense(s) and the Defendant’s conduct to establish a factual
                        basis for the plea; and,
               9.       The undersigned questioned the Defendant under oath about the
                        knowing, intelligent, and voluntary nature of the plea of guilty, and finds
                        that the Defendant’s plea was offered knowingly, intelligently, and
                        voluntarily.

       In light of the foregoing and the record submitted herewith, the undersigned finds that all
requirements imposed by the United States Constitution and Fed. R. Crim. P. 11 have been satisfied.
Therefore, the undersigned recommends that the plea of guilty be accepted and a finding of guilty be
entered by the Court.


                                                             s/Greg White
                                                              Greg White
                                                        United States Magistrate Judge
Date: September 30, 2015


       ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk of Court
within fourteen (14) days after being served with a copy of this Report and Recommendation. Failure
to file objections within the specified time may waive the right to appeal the District Court’s order. See,
United States v. Walters, 638 F.2d 947 (6th Cir. 1981). See also Thomas v. Arn, 474 U.S. 140 (1985),
reh’g denied, 474 U.S. 1111 (1986).
